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Attorney for Defendant Jose Luis Morales


                       IN THE UNITED STATES DISTRICT COURT

                     FOR THE EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF CALIFORNIA,              )
                                          ) Case No. 2:07-cr-0314 FCD
                  Plaintiff,              )
                                          )
                                          ) STIPULATION AND PROPOSED
vs.                                       ) ORDER CONTINUING STATUS
                                          ) CONFERENCE AND
JOSE LUIS MORALES,                        ) EXCLUDING TIME
ENRIQUE MORALES,                          )
TERESA MARIA MORALES,                     )
JUAN MORALES, and PETRA                   )
PRECIADO MORALES,                         )
                                          )
                  Defendant.              )
__________________________________________)

The parties hereby stipulate to the following:

       1. A status conference in this matter is now scheduled for Monday, April 15, 2010, at
10:00 a.m.

        2. I am currently in a co-defendant attempted murder trial in Monterey County. The
trial will take about two more weeks. I will not be able to make the court hearing on Monday,
March 15, 2010.

       3. This is my first request for a continuance aside from the time when I was involved in
an automobile accident and was not able to get out of bed.

       4. I request a continuance of the status conference until April 26, 2010.


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       5. It is stipulated by the parties that time continue to be excluded to April 26, 2010.

DATED: March 10, 2010                 (s) Miguel A. Hernandez
                                      Attorney for Defendant, JOSE LUIS MORALES

DATED: March 10, 2010                 (s) Tim Warriner
                                      Attorney for Defendant, TERESA MARIA MORALES

DATED: March 10, 2010                 (s) Bruce Locke
                                      Attorney for Defendant, ENRIQUE MORALES

DATED: March 10, 2010                 (s) Clarence Emmett Mahle
                                      Attorney for Defendant, JUAN MORALES

DATED: March 10, 2010                 (s) Donald P. Dorfman
                                      Attorney for Defendant, PETRA PRECIADO MORALES

DATED: March 10, 2010                 (s) Matthew Stegman
                                      Assistant U.S. Attorney

ORDER

       GOOD CAUSE APPEARING, it is hereby ordered that the status conference set for

March 15, 2010, be continued to April 26, 2010, at 10:00 a.m., and that time continue to be

excluded to April 26, 2010.


DATED: March 11, 2010

                                             _______________________________________
                                             FRANK C. DAMRELL, JR.
                                             UNITED STATES DISTRICT JUDGE




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